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               NOS. 24-10913(L); -11149 (XAP)
                                         In The

  United States Court Of Appeals
              For The Eleventh Circuit
                     DECLAN FLIGHT, INC.,
                 RIGHT RUDDER AVIATION, LLC,
                                           Plaintiffs – Appellants/Cross-Appellees,

                                              v.

        TEXTRON EAVIATION, INC., TEXTRON, INC.,
                                           Defendants – Appellees/Cross-Appellants.

                  ON APPEAL FROM THE MIDDLE DISTRICT OF FLORIDA

                                    ____________

      BRIEF OF PLAINTIFFS – APPELLANTS/CROSS-APPELLEES
                                    ____________



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              CERTIFICATE OF INTERESTED PERSONS AND
                CORPORATE DISCLOSURE STATEMENT

       Pursuant to Eleventh Circuit Rule 26.1-1, counsel for Plaintiffs-Appellants

hereby certify that the following is a complete list of the trial judge, all attorneys,

persons, associations of persons, firms, partnerships, or corporations that have an

interest in the outcome of the particular case on appeal, including subsidiaries,

conglomerates, affiliates, and parent corporations, including any publicly held

corporation that owns 10% or more of the party’s stock, and other identifiable legal

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   Mesa Airlines

   Pipistrel d.o.o.

   Pipistrel Italia S.r.l.

   Pipistrel Vertical Solutions d.o.o.

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   Right Rudder Aviation, LLC (Plaintiff/Appellant)

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   Sun, Timothy (attorney for Defendants/Appellees)

   Textron eAviation (Defendant/Appellee)

   Textron, Inc. (TXT) (Defendant/Appellee)

   Turner, John G. (attorney for Plaintiffs/Appellants)

   Wood, Bryan (owner of Declan Flight, Inc.)




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              STATEMENT REGARDING ORAL ARGUMENT

      Plaintiffs-Appellants respectfully request oral argument because this appeal

concerns important issues regarding the interpretation of forum selection clauses.

Oral argument would assist the Court in clarifying and testing the parties’

arguments as to this important issue of law.




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                 STATEMENT OF SUBJECT MATTER AND
                      APPELLATE JURISDICTION

      This suit was filed in the United States District Court for the Middle District

of Florida. That court had subject matter jurisdiction over this case pursuant to 28

U.S.C. § 1332(a)(1) because the parties are all residents of different states and the

amount in controversy exceeds $75,000.00, exclusive of interests and costs. This

Court has jurisdiction over this appeal under 28 U.S.C. § 1291. The district court

entered an order dated March 12, 2024, dismissing all claims asserted by Plaintiffs-

Appellants. This order disposed of all issues and all parties. Plaintiffs-Appellants

filed their notice of appeal on March 26, 2024.

                         STATEMENT OF THE ISSUES

1.    Whether the district court erred in applying the federal doctrine of equitable

      estoppel to allow a non-signatory to enforce contractual forum selection clauses

      against the parties to the contracts where (a) the underlying contracts specified

      application of Slovenian law; and (b) under Slovenian law, a contractual forum

      selection clause only applies to the signatories to the contract.

2.    Whether the district court abused its discretion in dismissing Counts I and II

      on forum non conveniens grounds where (a) all the parties to this case are

      U.S. companies; (b) the majority of the case’s witnesses reside in the U.S.;

      (c) the majority of the underlying tortious activity occurred in the U.S.; (d)

      the majority of the relevant documents would have to be translated from

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      English to Slovenian; and (e) a Slovenian court would have to apply U.S.

      law to decide the case.

3.    Whether the district court erred in dismissing Count III with prejudice for

      failure to state a claim under Rule 12(b)(6) where Plaintiffs pled plausible

      facts supporting Count III’s contention that Defendants intentionally and

      deliberated schemed to steal Plaintiff Right Rudder Aviation, LLC’s

      business with non-party Mesa Airlines, leading to the breach of a contract

      between them, and incorporated those facts in their opposition to the motion

      to dismiss.

                                     INTRODUCTION

      This appeal arises out of a classic case of tortious interference by two U.S.

companies (Defendants-Appellees Textron eAviation, Inc. (“Textron eAviation”),

and Textron, Inc. (“Textron”) (collectively, “Textron”)) against two other U.S.

companies (Plaintiffs-Appellants Declan Flight, Inc. (“Declan”) and Right Rudder

Aviation, LLC (“Right Rudder”), collectively, “Plaintiffs”). Plaintiffs allege that

Textron tortiously interfered with contracts they had entered into with Slovenian

electric aircraft manufacturer, Pipistrel, and with Mesa Airlines, Inc. (“Mesa”),

both non-parties to this action. 1


      1
        The three contracts are described below in Section D as the Declan-
Pipistrel Contract, the Right Rudder-Pipistrel Contract, and the Right Rudder-Mesa
Contract.

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      Even though all parties to this case are U.S. corporations, all material

witnesses reside in the U.S., the vast majority of Textron’s tortious misconduct

occurred in the U.S., and all of Plaintiffs’ damages stem from injury to their

financial interests in the U.S. marketplace, the district court dismissed the first two

counts of Plaintiffs’ complaint on forum non conveniens grounds on the basis that

Textron allegedly interfered with contracts between Plaintiffs and non-party

Pipistrel, a Slovenian company. The district court then dismissed the third count

— which relates to a contract with U.S.-based non-party Mesa — on the ground

that Plaintiffs failed to state a claim, thereby disposing of this entire case. Each of

these decisions was error and should be reversed.

                          STATEMENT OF THE CASE

A.    Course of Proceedings Below.

      Declan and Right Rudder filed their original complaint on May 11, 2023.

Doc 1 at 1. 2 Textron filed a Motion to Dismiss for Lack of Jurisdiction on July 21,

2023. Doc 27 at 1. In response, Declan and Right Rudder filed their First Amended

Complaint. Doc 44 at 1. As a result, the district court denied as moot Textron’s

prior motion. Doc 49 at 1-2.


      2
        References to the Appendix refer to the docket number (“Doc”) followed
by the page number included in the header generated by the district court’s
electronic filing system (for example, Doc 74 at 3-6), or instead, where applicable,
the docket number followed by the paragraph number (for example, Doc 76 at ¶
61).

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      On September 29, 2023, Textron filed a Motion to Dismiss Plaintiffs’ First

Amended Complaint, or in the Alternative to Stay the Case. Doc 52 at 1. Declan

and Right Rudder responded in opposition on November 3, 2023. Doc 65 at 1. To

correct a pleading deficiency, Declan and Right Rudder also moved to amend by

interlineation or in the alternative to file a Second Amended Complaint. Doc 68 at

3-6. The district court granted Textron’s Motion to Dismiss without prejudice and

gave Declan and Right Rudder until December 1, 2023, to file a Second Amended

Complaint. Doc 74 at 3-6.

      The Second Amended Complaint (“SAC”) was timely filed. Doc 76 at 1.

Textron again moved to dismiss the complaint or to stay the case, which Declan

and Right Rudder opposed. Doc 79 at 1; Doc 91 at 1. On March 12, 2024, the

district court granted the Motion to Dismiss. Doc 95 at 24.

      Declan and Right Rudder filed a joint notice of appeal on March 26, 2024.

Doc 96 at 1.

B.    Factual Overview.

      This appeal involves a calculated plan by Textron, a large multinational

corporation, to not only to enrich itself at the expense of Right Rudder and Declan,

two small American companies, but also to ruin their businesses in the process.

      Textron’s actions began two years ago when it was looking to branch into

the burgeoning electric airplane business in the United States. Textron was



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introduced as a potential business partner/purchaser and/or acquirer to Slovenian

airplane manufacturer Pipistrel by Pipistrel’s U.S. contractor, Declan. 3 Doc 76 at

¶¶ 61-63. Declan’s job, as described in the Declan-Pipistrel Contract, was to

promote the sale of Pipistrel’s planes in the Americas’ market in exchange for a

5% commission on all of Pipistrel’s American sales. Id. at ¶¶ 59-60, 69.

      Declan would come to regret making the introduction. A few months later,

Textron, through various European subsidiaries, devised a scheme to acquire 90% of

Pipistrel’s equity. Id. at ¶¶ 5, 52-55.4 Spurred on by Textron’s ongoing efforts to

undermine Declan’s relationship with Pipistrel, Pipistrel ended up terminating its

contractual relationship with Declan on June 6, 2022, thereby freezing Declan out of

its promised 5% commission and other fees. Id. at ¶¶ 73, 81. Declan maintains that

the termination of its contract with Pipistrel amounts to a breach and that Declan is

still owed commissions under that contract. Id. at ¶ 84.

      Meanwhile, Right Rudder began working with Pipistrel after signing a

contract on September 27, 2021, to act as its exclusive U.S. distributor. Id. at ¶ 93.

Thereafter Right Rudder began investing heavily in the infrastructure and


      3
       “Pipistrel” as used herein refers to Pipistrel d.o.o., Pipistrel Vertical
Solutions d.o.o., and Pipistrel Italia S.r.l.
      4
        Notwithstanding this acquisition, Textron’s indirect purchase of Pipistrel
was not an asset sale, but rather was a stock purchase, meaning that Pipistrel
continues its existence and remains the Contracting Authority for purposes of the
contracts between Plaintiffs and Defendants. Doc 76 at ¶ 82.

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equipment necessary to create and manage the U.S. distributor network. Id. at ¶¶

97-98. Less than a year later, after Pipistrel was indirectly acquired by Textron,

Right Rudder was reassured it remained an important partner. Id. at ¶¶ 99-101.

       During the summer of 2022, Right Rudder began working on the specifics

for a large fleet sale with non-party Mesa , which was completed and executed in

August (the “Right Rudder-Mesa Contract”). Id. at ¶¶ 104-11. After the contract

was signed and pricing negotiated between Right Rudder and Pipistrel, however,

Textron told Right Rudder that the deal could not be “approved and proposed an

alternative deal to Right Rudder whereby its commission structure was greatly

reduced” and its exclusivity rights were diminished. Id. at ¶¶ 112-13. Ultimately,

at Textron’s direction, Pipistrel ended up terminating its contract with Right

Rudder, cutting Right Rudder out of its lucrative role as the exclusive distributor of

Pipistrel’s planes in the U.S. Id. at ¶ 125. These actions also caused Mesa to back

out of its fleet-sale contract with Right Rudder due to Pipistrel’s refusal to deliver

the planes to Right Rudder, and instead purchase the planes directly from Textron.

Id. at ¶ 125.

       In short, through its single acquisition of Pipistrel, Textron terminated three

contractual relationships with U.S. companies, saving it millions of dollars and

casting Declan and Right Rudder aside and stepping in to assume their sales and

distribution roles. Doc 76 at ¶ 83 (alleging that Textron recognized “the value of



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misappropriating [the Declan] contract for themselves and turning Declan into a

shell of the vibrant and fast-growing corporation it once was”); Id. at ¶ 101

(alleging that “Textron intended to take over the sale of Pipistrel aircraft sold by

RRA, disband the existing distributor network, and work to otherwise injure RRA

so that Textron could profit by eliminating RRA from the picture.”); Id. at ¶ 125

(alleging that because of Textron’s tortious interference, “Mesa cancelled the Mesa

Agreement and entered into a new contract directly with Pipistrel.”).

      Declan and Right Rudder jointly filed this tortious interference action

against Textron in Florida under Florida law, where Textron had committed most

of the tortious acts underlying this action (more on this point below at Point C).

Plaintiffs contend that Textron colluded with and ultimately directed both Pipistrel

and Mesa to breach their contracts with Plaintiffs.

      To defend itself, Textron devised an exculpatory plan: even though Textron

was not a party to any contract with Declan or Right Rudder, Textron sought to

defeat Declan and Right Rudder’s lawsuit by asserting a Slovenian forum selection

clause in those companies’ contracts with non-party Pipistrel. Doc 79 at 16.

      This strategy succeeded in the district court. Despite the fact that this action

is between four U.S. companies over alleged tortious interference in the U.S., and

all material witnesses—including the principals of each company—are in the U.S.,

the district court dismissed the first two counts of this dispute based on Slovenian



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forum selection clauses in the contracts between Plaintiffs and Pipistrel to which

Textron is neither a party nor a successor. As to the third count, which relates to

Textron’s interference with a contract between Right Rudder and non-party Mesa

that selects Florida as the appropriate forum, the district court denied Textron’s

motion to dismiss for lack of personal jurisdiction but granted the motion based on

Plaintiffs’ alleged failure to state a claim. Doc 95 at 12 n.4 and 24. This appeal

followed.

C.    The U.S. Focus of this Lawsuit.

      This case has no connection to Slovenia aside from the fact that Textron

allegedly tortiously interfered with contracts between Plaintiffs and non-party

Pipistrel, a Slovenian company. Not only are all the parties to this suit U.S.

companies, 5 but virtually all the events that gave rise to this case occurred in the

United States—particularly (but not exclusively) in Florida, where Right Rudder is

located and which is a major U.S. market for aviation products. Doc 76 at ¶¶ 35-

36, 50.


     5
        Right Rudder, which served as Textron’s exclusive U.S. distributor, is an
LLC created under the laws of Florida with its principal place of business located in
Florida. Doc 76 at ¶ 15. Declan, which served as Textron’s U.S. sales representative,
is a corporation organized and existing under the laws of Arizona with its principal
place of business in Scottsdale, Arizona. Id. at ¶ 16. Textron is a multibillion-dollar
conglomerate organized under the laws of Delaware with its principal place of
business is in Rhode Island. Id. at ¶¶ 17, 47. Textron eAviation, an agent and
subsidiary of Textron, is a corporation organized under the laws of Delaware with
its principal place of business is in Kansas. Id. at ¶ 19.

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     For example, on June 6, 2022, Declan’s CEO Bryan Wood travelled to

Wichita, Kansas for a meeting with Textron’s Special Missions Team. Instead of

that meeting, Mr. Wood was taken to a conference room where Textron

eAviation’s then-CEO Robert Scholl and Nicholas Begley, Finance Director for

Textron Aviation, were waiting. Mr. Scholl then ambushed Mr. Wood by handing

a letter to Mr. Wood on Textron eAviation letterhead purportedly terminating

Declan’s Contract with Pipistrel. Id. at ¶ 81; Doc 76-6 at 2.

     This meeting took place just a few short weeks after Mr. Wood had travelled

to Florida to meet with several potential customers at Mr. Scholl’s direction. During

this trip, Mr. Wood had a meeting with Gabriel Massey, a former Textron employee

who had been named President of Pipistrel. In this meeting, Mr. Wood explained to

Mr. Massey the terms of Declan’s contract with Pipistrel. Doc 76 at ¶¶ 45, 77.

     The bulk of the tortious misconduct alleged in this case in furtherance of

Textron’s plan to take over Plaintiffs’ businesses also occurred in the United

States. For example, on March 29, 2022, Textron eAviation’s CEO Robert Scholl

made a specific trip to Right Rudder’s facilities in Inverness, Florida in order to

“tortiously interfere with Right Rudder’s contractual relationship with Pipistrel and

injure its business overall.” Id. at ¶ 34. During that meeting, Mr. Scholl allegedly

obtained “significant information” regarding RRA’s processes and important

customer leads that Right Rudder was working on. Id. at ¶¶ 36, 102.



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Furthermore, “[o]btaining this information was critical to Textron’s overall scheme

to rid its new subsidiary, Pipistrel, of the [Right Rudder-Pipistrel] Contract.” Id. at

¶ 36.

        Textron also allegedly sent Steve McKenna, a former Textron employee and

current Director of Sales and Marketing for Pipistrel, to Florida “for the specific

goal of setting up meetings with [Right Rudder’s] customers and dealers located in

Florida, disparaging [Right Rudder] and stealing [Right Rudder]’s business.” Id. at

¶ 37.

        “Furthermore,” Plaintiffs allege, Textron “committed an act of tortious

interference” when it attended and participated as a presenter of Pipistrel aircraft at

the Orlando Florida 2022 NBAA Business Aviation Convention & Exhibition,

where it had a display and was offering to sell aircraft to the public in Florida. Id.

at ¶ 38. Right Rudder had been scheduled to participate in this Convention, but

“was instructed by Textron eAviation’s General Counsel, Fletcher Thomson, not to

appear at this show.” Id. Then, having instructed Right Rudder not to appear at

this important show, Textron eAviation’s CEO Mr. Scholl participated instead, “as

evidenced by the picture of Mr. Scholl at that airshow/sales event in front of a

Pipistrel aircraft with a Textron eAviation sign displayed prominently over his

shoulder, which was posted publicly on Textron eAviation’s LinkedIn page.” Id.




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As a result, “[Right Rudder] was not only being cut out of its contract, but it was

also being cut out of business overall.” Id.

       Plaintiffs further allege that Textron eAviation’s LinkedIn page encouraged

prospective buyers to “[m]ake sure you come check out the latest in aviation at the

Textron eAviation booth.” Id. According to Plaintiffs, these trade shows and sales

events “are critical to sales,” and Textron “knew that fact, which is precisely why

they moved to block [Right Rudder]’s access to the trade show while

simultaneously marketing Pipistrel’s products at their own booth.” Id. Plaintiffs

assert that “[t]his act by Textron eAviation in Florida, as the agent of Textron,

constitutes an act of tortious interference specifically related to the contracts at

issue in this suit.” Id.

       Another act of tortious interference directed at Right Rudder occurred in

June 2022 at a “UP Summitt” air show in Bentonville, Arkansas, where Textron

persuaded event staffers to physically bar Right Rudder personnel from

participating in the event so that Textron could promote and sell Pipistrel aircraft

instead. According to Plaintiffs, “[t]his act constituted tortious interference with

the Distribution Contract causing its breach.” Id. at ¶ 117.

       On the heels of this event in Arkansas, Textron committed yet another act of

tortious interference against Right Rudder at the July 2022 “EAA AirVenture

Oshkosh Airshow,” in Oshkosh, Wisconsin—which, according to Plaintiffs, “is the



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most famous airshow and sales event in the world with over 650,000 attendees.”

Id. at ¶ 120. Textron was allegedly trying to steal Right Rudder’s business by

“displaying an actual Pipistrel Velis Electro despite the fact that [Right Rudder]

was the exclusive U.S. Distributor for that product.” Id. Making matters worse,

Textron eAviation’s CEO Mr. Scholl “and others” allegedly “came over to the

RRA booth to take pictures of themselves in front of some of the Pipistrel aircraft

that RRA was displaying. Those pictures were then posted on Pipistrel’s LinkedIn

and people were encouraged to contact Mr. Scholl ‘of Textron eAviation,’ instead

of RRA, if they were interested in learning more about the products.” Id.

      Things came to a head in October 2022, when, as noted, Right Rudder “was

instructed by Textron eAviation’s General Counsel Fletcher Thomson not to

appear” at the 2022 NBAA Business Aviation Convention & Exhibition in

Orlando, Florida. Id. at ¶ 123. In response, Right Rudder “specifically warned”

Textron against participating in that show to market Pipistrel’s products.

“Nevertheless,” Plaintiffs alleged, “that is exactly what happened as evidenced by

the picture of Mr. Scholl at that airshow and sales event in front of a Pipistrel

aircraft with a Textron eAviation sign displayed prominently over his shoulder,

which was posted on Textron eAviation’s LinkedIn page. Once more, Textron

eAviation, as Textron’s agent, was interfering with the Distribution Contract and

causing its breach.” Id.



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      Shortly thereafter, on November 11, 2022, Textron “implemented [its] plan

to get rid of [Right Rudder] by directing Pipistrel to send [Right Rudder] a letter

terminating the [Right Rudder-Pipistrel] Contract.” Id. at ¶ 124. At that point,

Plaintiffs allege, Textron’s “mission was nearly complete.” Id. at ¶ 125. All that

remained to be done was for Textron to “completely cut [Right Rudder] out of” the

sale of a fleet of 100 Pipistrel airplanes to Mesa Airlines, a sale that would have

been the second largest sale in the company’s history. Id. at ¶¶ 108, 125. Mesa

ultimately “cancelled the Mesa Agreement and entered into a new contract directly

with Pipistrel,” due to Pipistrel’s refusal to deliver the planes to Right Rudder. Id.

at ¶ 125.

      Mission accomplished, indeed. As a result of all these actions, Plaintiffs

allege, “Declan is now a shell of a company … and the operations of RRA have

been gravely and permanently injured.” Id. at ¶ 14.

D.    The Contracts at Issue.

     As the district court observed, this case involves three distinct contracts.

     First, Count I relates to the contract that Declan executed with Pipistrel in

October 2020 (the “Declan-Pipistrel Contract”) that was due to run until December

31, 2021, and was extended through December 31, 2024. Id. at ¶¶ 58-59; Doc 76-3

at ¶ 8.2, et seq. The Declan-Pipistrel Contract charged Declan with “spearhead[ing]

the [U.S.] sales of the Pipistrel products and provid[ing] sales support services” in



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exchange for a monthly salary and commissions. Doc 76 at ¶¶ 59-60; see also Doc

76-2 at ¶¶ 1.1-1.3, 2.1-2.8, 4.1; Doc. 76-3 at ¶¶ 1.1-1.3, 2.1-2.8, 4.1. It contains a

dispute resolution clause which states:

      Any controversial relations arising from this or in connection with this
      contract will be settled primarily by the contracting parties by mutual
      consent, otherwise the dispute shall be settled by the court having
      jurisdiction over the seat of the Contracting Authority.

Doc 76-2 at ¶ 9.1. The Declan-Pipistrel Contract identifies Pipistrel, located in

Slovenia, as the “Contracting Authority.” See id. at 2; Doc. 76-3 at 2.

      The second contract at issue is the September 27, 2021 contract described in

Count II between Right Rudder and Pipistrel (the “Right Rudder-Pipistrel

Contract”), whereby Right Rudder became Pipistrel’s exclusive distributor in the

United States. Doc 76 at ¶ 93. The Right Rudder-Pipistrel Contract contains the

following forum-selection clause: “In case of dispute the courts of Nova Gorica,

Slovenia shall have jurisdiction.” Doc 76-4 at ¶ 28.2 (emphasis added).

Additionally, the Right Rudder Contract states that it is “governed by the laws of

Slovenia.” Id. at ¶ 27.1.

      The third contract at issue is the contract between Right Rudder and non-

party Mesa (the “Right Rudder-Mesa Contract”). Doc 76 at ¶ 91. The Right

Rudder-Mesa Contract, signed in August 2022, delineated Mesa’s purchase from

Right Rudder of 25 Pipistrel aircraft, with an option to purchase another 75 such

planes from Pipistrel. Id. at ¶¶ 110-111. The Right Rudder-Mesa Contract states

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that it “shall be interpreted under and governed under the laws of Citrus County,

Florida” and “any dispute or claim arising out of [it]…shall be filed in the courts of

Citrus County, FL.” Doc 90-2 at 5. It also states in more detail that:

       Any dispute arising under, out of, or related in any way to this Agreement or
       the legal relationship between Seller and Purchaser will be adjudicated
       solely and exclusively in the Citrus County, Florida, USA. Each of the
       parties consent to the exclusive personal jurisdiction of these courts and by
       signing this Agreement, waives any objection to venue of these Florida
       courts.

Id., Part 2, ¶ 5.

E.     Decision Below.

       The district court dismissed this lawsuit in its entirety on March 12, 2024.

Doc 95 at 24. As to Counts I and II, the court ignored Textron’s argument that the

court lacked personal jurisdiction over it as to those claims. Instead, the court

moved directly to the issue of whether the case should be dismissed based on the

forum selection clauses in the contracts between Plaintiffs and non-party Pipistrel.

Id. at 9.

       On this point, the Plaintiffs had argued that the issue was governed by

Slovenian law and that, under Slovenian law, a jurisdiction provision is only

binding on the contractual parties. Doc 91 at 13-14. The district court disagreed,

holding that Textron is entitled to seek enforcement of the contracts’ forum

selection clauses based on the federal doctrine of equitable estoppel. Doc 95 at 10-

11.

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      The district court then turned to whether the court should dismiss the case

based on the doctrine of forum non conveniens. Id. at 11. On that issue, the

district court acknowledged that, because the doctrine “effectively deprives the

plaintiff of his favored forum,” defendants usually bear a significant burden to

justify dismissal on that basis. Id. at 12 (citing Fresh Results LLC v. ASF Holland,

B.V., 921 F.3d 1043, 1048 (11th Cir. 2019)). The court further acknowledged that,

in the usual case, “the defendant must establish that (1) an adequate alternative

forum is available, (2) the public and private factors weigh in favor of dismissal,

and (3) the plaintiff can reinstate his suit in the alternative forum without undue

inconvenience or prejudice.” Id. at 12 (citation omitted).

      The district court held, however, that because the contracts between Pipistrel

and Plaintiffs contain valid forum selection clauses, the private factors weighing

against dismissal—which include the location of the parties, witnesses, and

material evidence and the overall difficulty of litigating the case in a foreign

forum—are entitled to no weight whatsoever. See id. at 14-15 (citing Atlantic

Marine Const. Co., Inc. v. U.S. Dist. Court for the Western Dist. Of Texas, 571

U.S. 49, 64 (2013)).

      Based on this reading of Atlantic Marine—which, as argued below, was

incorrect—the district court refused to even consider Plaintiffs’ arguments that it

would be difficult, if not impossible, to try this case in Slovenia, given that all the



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material witnesses reside in the U.S., the tortious misconduct occurred here, and

Plaintiffs damages are based on injury to their financial interests in the U.S.

marketplace. Instead, the court ruled that the “public factors” favor a Slovenian

forum for this dispute given “Slovenia’s interest in resolving disputes governed by

Slovenian law at home.” Id. at 16. In so ruling, the court did not acknowledge that

Plaintiffs had submitted a declaration from an expert in Slovenian law who opined

that a Slovenian court would apply U.S. law, not Slovenian law, in evaluating

Plaintiffs’ tortious interference claims. Doc 91-1 at ¶¶ 55-67.

      Having dismissed Counts I and II on forum non conveniens grounds, the

district court then turned to Count III, which involves Textron’s interference with

Right Rudder’s contract for a sale of planes to Mesa (which specifies Florida as the

appropriate forum). As to Count III, the court rejected Textron’s personal

jurisdiction argument, holding that Plaintiffs’ allegations regarding Textron’s

“pivotal role” in causing the “delay of delivery of aircraft from Pipistrel to [Right

Rudder] (in Florida), thereby preventing [Right Rudder] from performing its duties

under the Mesa Contract … are sufficient to satisfy Florida’s Long Arm Statute.”

Doc 95 at 18 (citations omitted). The court further held that, because the Right

Rudder-Mesa Contract specified Florida as the appropriate forum, it was “eminently

foreseeable [to Textron] that any future lawsuits” related to that contract “would be

decided in compliance with the forum selection clause.” Id. at 20.



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      The district court went on to rule, however, that Plaintiffs had failed to state

a tortious interference claim as to the Right Rudder-Mesa Contract, “[b]ecause

[Right Rudder] failed to respond to Defendants’ plausible arguments that the

Complaint shows that Mesa chose to renegotiate its contract of its own accord, …

[and thus] RRA has tacitly conceded those arguments.” Id. at 23 (citations

omitted). Based on this reasoning, and without considering whether Textron’s

argument as to Count III was correct on the merits, the district court dismissed

Count III with prejudice. 6

F.    Standard of Review.

      Counts I and II. The enforceability of a forum-selection clause is a question

of law subject to de novo review. Slater v. Energy Servs. Grp. Int’l, Inc., 634 F.3d

1326, 1329–30 (11th Cir. 2011). Further, whether the doctrine of equitable

estoppel applies is a question of law that is reviewed de novo. Id. (citing MS

Dealer Serv. Corp. v. Franklin, 177 F.3d 942, 946 (11th Cir. 1999).

      A district court’s determination regarding forum non conveniens is reviewed

for abuse of discretion. Fresh Results, LLC v. ASF Holland, B.V., 921 F.3d 1043,

1048 (11th Cir. 2019). A district court abuses its discretion when “it applies an


      6
        The district court also noted in a footnote that the Second Amended
Complaint is a “prohibited ‘shotgun pleading’ because it … lump[s] claims against
both Defendants without specifying which of the defendants are responsible for
which acts or omissions,” but did not base its decision on that ground. Doc 95 at
23, n.11 (citation omitted).

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incorrect legal standard, follows improper procedures in making the determination,

or makes findings of fact that are clearly erroneous.” Jysk Bed’N Linen v. Dutta-

Roy, 810 F.3d 767, 773–74 (11th Cir. 2015) (internal quotations omitted).

      In deciding a forum non conveniens motion, “[a] court abuses its discretion

when it fails to balance the relevant factors.” C.A. La Seguridad v. Transytur Line,

707 F.2d 1304, 1308 (11th Cir. 1983). “An error of law is an abuse of discretion

per se.” Managed Care Advisory Grp., LLC v. CIGNA Healthcare, Inc., 939 F.3d

1145, 1153 (11th Cir. 2019) (internal quotation marks omitted); see also Baldwin

v. Express Oil Change, LLC, 87 F.4th 1292, 1301 (11th Cir. 2023).

      Count III. This Court “review[s] de novo the district court’s grant of a Rule

12(b)(6) motion to dismiss for failure to state a claim, accepting the complaint's

allegations as true and construing them in the light most favorable to the plaintiff.”

Newbauer v. Carnival Corp., 26 F.4th 931, 934 (11th Cir.), cert. denied, 143 S. Ct.

212, 214 L. Ed. 2d 83 (2022) (cited authority omitted).

                       SUMMARY OF THE ARGUMENT

      The district court committed three distinct errors in dismissing this case.

      First, the district court erred by allowing Textron, a non-signatory to the

underlying contracts between Plaintiffs and Pipistrel, to enforce the forum

selection clauses in those contracts against Plaintiffs. As the Sixth Circuit recently

held in Firexo, Inc. v. Firexo Group Limited, __ F.4th __, 2024 WL 1597520 *20



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(6th Cir. April 12, 2024), the question of whether a contract’s forum selection

clause applies to a non-signatory is governed by the choice-of-law provision set

forth in that contract. In this case, Textron conceded in its Motion to Dismiss that

the contracts between Plaintiffs and Pipistrel are governed by Slovenian law. And

it is clear that, under Slovenian law, a forum selection clause cannot be invoked by

a non-signatory. That fact alone should have put an end to Textron’s attempt to

transfer this case to Slovenia.

      Second, the district court erred—and thus abused its discretion—in

concluding that this case should be dismissed under the doctrine of forum non

conveniens, the “central purpose [of which] is to ensure that the trial is

convenient.’” Fresh Results, LLC v. ASF Holland, B.V., 921 F.3d 1043, 1048 (11th

Cir. 2019) (cleaned up; citation omitted). In so ruling, the district court refused to

consider any of the reasons why trying this case in Slovenia would not just be

inconvenient, it would be virtually impossible given that all the material witnesses

and evidence are here in the United States and every relevant document would

have to be translated into Slovenian.

      The district court’s refusal to consider this crucial fact was based on its

misreading of the U.S. Supreme Court’s decision in Atlantic Marine, 571 U.S. at

64, which held that where the “parties” to a contract have agreed to a forum

selection clause, a court should not consider the private factors weighing against



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dismissal. That was error, because Atlantic Marine’s holding only applies to cases

involving contractual signatories—and Textron is undisputedly not a party to any

of the contracts at issue in this case.

       Third, the district court erred by dismissing Count III with prejudice for failure

to state a claim. On this point, the court held that Plaintiffs’ Opposition to the Motion

to Dismiss “failed to respond to Defendants’ plausible arguments that the Complaint

shows that [non-party] Mesa chose to renegotiate its contract of its own accord,” and

therefore “tacitly conceded those arguments.” Doc 95 at 23. That is simply untrue.

The district court ignored that Plaintiffs’ opposition emphasized outlined Textron’s

deliberate, concerted, and ultimately successful efforts to cast Right Rudder aside

and steal its business with Mesa, directly citing to the supporting allegations of the

SAC. See Doc 91 at 26 (stating that Textron’s “heinous actions” included “the

stealing of the RRA-Mesa Airlines Fleet Sale” and citing SAC ¶¶ 14, 155); id. at 27

(stating that Textron “successfully used its market power to steal the RRA-Mesa

Airlines Fleet Sale” and citing SAC ¶¶ 104–11).

       The district court’s refusal to acknowledge these arguments was wrong as a

matter of plain fact. The court’s dismissal also violated the settled principle that

complaint allegations must be taken as true and construed in the light most

favorable to the non-movant. Newbauer v. Carnival Corp., 26 F.4th 931, 934 (11th

Cir.), cert. denied, 143 S. Ct. 212 (2022) (cited authority omitted). The district

court’s dismissal of Count III must therefore be reversed.

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                                   ARGUMENT

I.    The District Court Erred and Abused its Discretion in Dismissing
      Counts I and II Based on the Doctrine of Forum Non Conveniens.

      The district court dismissed Counts I and II on forum non conveniens

grounds based on the fact that “both contracts underlying Plaintiffs’ claims for

tortious interference contain mandatory forum-selection clauses that require any

disputes arising out of those contracts … to be resolved by the courts of Slovenia.”

Doc 95 at 22. This was error for several reasons.

      A.     The District Court Erred in Applying Federal Law to Determine
             Whether the Contracts’ Forum Selection Clauses May Be
             Enforced by a Non-Signatory.

      First, the district court erred in applying federal law to decide the threshold

issue of whether the contracts’ forum selection clauses could be enforced by a non-

signatory to the contracts—here, Textron. See Doc 95 at 10. As explained below,

the issue of whether a forum selection clause can be enforced by a non-signatory is

governed by Slovenian law, not federal law. And, unlike federal law, Slovenian

law provides that a jurisdictional provision in a contract can only be enforced by

the contract’s parties.

             1.     Slovenian Law Governs Whether the Contracts’ Forum
                    Selection Clauses Can Be Enforced by a Non-Signatory.

      The district court cited P&S Business Machines, Inc. v. Canon USA, Inc.,

331 F.3d 804, 807 (11th Cir. 2003), for the proposition that “[c]onsideration of



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whether to enforce a forum selection clause in a diversity jurisdiction case is

governed by federal law…not state law.” Doc 95 at 9-10. Is so ruling, the district

court read P&S too broadly: although the enforcement of a forum selection clause

is governed by federal law, the actual interpretation of a clause—including the

issue of whether a non-signatory can enforce such a clause against the contract’s

signatories—is governed by the law specified in the contract.

      So held the Sixth Circuit in Firexo, Inc. v. Firexo Group Limited, -- F.4th --,

2024 WL 1597520 (6th Cir. April 12, 2024), which held that question of whether a

non-signatory is subject to a forum selection clause is governed by the law

specified in the underlying contract—in that case, English law.

      In so ruling, Firexo addressed the question that was “left unanswered” by

this Court in Wylie v. Kerzner International Bahamas Ltd., 706 F. App’x 577, 578

(11th Cir. 2017): namely, whether “a forum-selection clause’s applicability is

distinct from and antecedent to its enforceability, such that the law of the state

and/or the contract (or the combination of the two) determines whether the forum-

selection clause applies to the non-signatory; or whether applicability is just a part

of the federal law of enforceability, such that the federal-common-law “closely

related” doctrine decides.” Id. at *14 (emphasis added). 7


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        In Wylie, the district court enforced a forum selection clause against a non-
signatory based on federal law. This Court vacated and remanded for consideration
of “whether the validity of a forum-selection clause [as applied to a non-signatory]

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      After a lengthy and exhaustive analysis, the Sixth Circuit ultimately held

that fealty to Erie principles require that a federal court sitting in diversity begin

with a conflict-of-laws analysis using the law of the State in which it sits … to

determine the governing law, and then interprets the contract provision under that

law.” Id. at *19. The Court applied English law based on the fact that neither

party argued for Ohio law. Id. at *20. Because English law does not allow for

non-signatories to be bound by contractual provisions, the Sixth Circuit denied the

motion to dismiss on forum non conveniens grounds. Id.

             2.     Under Slovenian Law, Only Signatories are Bound By A
                    Contract’s Jurisdictional Provisions.

      Under Firexo, the district court here clearly erred in applying federal law to

determine whether the forum selection clauses in the contracts between Plaintiffs

and Pipistrel apply to Textron, a non-signatory. As the Sixth Circuit concluded in

Firexo, applying federal law to decide that question does violence to the core

principles enunciated in Erie v. Tompkins, 304 U.S. 64 (1938). Thus, absent


is distinct from, and antecedent to, its enforceability [and thus is governed by state
law], or whether the validity of such a clause is just part of the federal law of
enforceability.” 706 F. App’x at 580. But on remand the district court ruled that
“[a] traditional forum non conveniens analysis mandates that this case be
dismissed, regardless of whether there is a valid and enforceable forum selection
clause binding Ms. Wylie.” Wylie v. Island Hotel Co. Ltd., No. 15-24113, 2018
WL 3421374, at *2 (S.D. Fla., July 13, 2018). In the ensuing appeal, the Eleventh
Circuit affirmed on that basis and “d[id] not address whether the forum-selection
clause was valid and enforceable against Ms. Wylie.” Wylie v. Island Hotel Co.
Ltd., 774 F. App’x 574, 580 (11th Cir. 2019).

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agreement between the parties as to the applicable law, that issue should be

governed by state law, not federal law.

      Under Florida’s choice-of-law rules, “the laws of the jurisdiction where the

contract was executed governs interpretation of the substantive issues regarding the

contract.” Prime Ins. Syndicate, Inc. v. B.J. Handley Trucking, Inc., 363 F.3d 1089,

1091 (11th Cir. 2004) (quoting Lumbermens Mut. Cas. Co. v. August, 530 So.2d

293, 295 (Fla. 1988)). That means that Slovenian law should govern here—a fact

on which the parties to this case actually agree. See Doc 79 at 9 (arguing that both

the Right Rudder-Pipistrel and the Declan-Pipistrel contracts are governed by

Slovenian law); Doc 91 at 12-13 (arguing same).

      The district court’s failure to apply Slovenian law to determine whether a

contractual forum selection clause can bind a non-signatory constitutes reversible

error because a Slovenian court would not enforce such a clause with respect to

Textron. This issue was addressed by Plaintiffs’ expert Prof. Galič, who submitted a

declaration in support of Plaintiffs’ Opposition to the Motion to Dismiss. See Doc

91-1 at 2. There, Prof. Galič opined that a “jurisdiction agreement may only [be]

extended to [a] third party not privy to the original contract … if the third party had

succeeded to an original contracting party’s rights and obligations.” Id. at 2.

      This conclusion is supported by one of the cases cited in Prof. Galič’s

declaration, “referenced as Decision of the Appellate Court in Ljubljana, II Cp



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1950/2015 of 2 September 2015.” Id. at ¶ 26 n.14. There, the respondent was sued

in a Slovenian court by one of the parties to a lease to which Respondent was

guarantor, but not a signatory. The respondent sought to enforce a forum selection

clause in that contract specifying that any lawsuit must be filed in Croatia or

Austria. The Slovenian court held that the respondent could not enforce that clause

because he never assumed all the obligations to the main contract. 8

      That reasoning applies here with full force, because Textron has not

undertaken any of the obligations of the contracts between Plaintiffs and Pipistrel.

Moreover, Textron is undisputedly a nonparty, and thus cannot be said to have

“succeeded” to the contracts between Plaintiffs and Pipistrel. That being so, the

district court erred in concluding that the clause could be invoked by Textron and

then proceeding to the forum non conveniens part of the analysis.

      B.     The Court Abused its Discretion in Dismissing this Case Based on
             the Doctrine of Forum Non Conveniens.

      Even if the contractual forum selection clauses in the contracts between

Plaintiffs and Pipistrel could be applied to Textron (and, under Slovenian law, they

cannot), the district court abused its discretion in finding that dismissal is proper



      8
        This decision can be found at http://www.sodnapraksa.si/?q=id:201508111
1386017&database[SOVS]=SOVS&database[IESP]=IESP&database[VDSS]=VD
SS&database[UPRS]=UPRS&_submit=išči&rowsPerPage=20&page=0&moreLik
eThis=1&id=doc_2015081111384273. A certified translation of this case is
included in the Addendum to the brief.

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based on the doctrine of forum non conveniens. Because forum non conveniens

“effectively deprives the plaintiff of his favored forum,” defendants bear a

significant burden to justify dismissal on these grounds. Fresh Results LLC v. ASF

Holland, B.V., 921 F.3d 1043, 1048 (11th Cir. 2019). “To satisfy this burden, the

defendant must establish that (1) an adequate alternative forum is available, (2) the

public and private factors weigh in favor of dismissal, and (3) the plaintiff can

reinstate his suit in the alternative forum without undue inconvenience or

prejudice.” Id. at 1048-49. “[T]he court abuses its discretion when it fails to

balance the relevant factors.” Ford v. Brown, 319 F.3d 1302, 1308 (11th Cir. 2003)

(quoting C.A. La Seguridad v. Transytur Line, 707 F.2d 1304, 1308 (11th Cir.

1983)).

      The district court abused its discretion in two distinct respects when

evaluating the second prong of this test: first, by refusing to consider the parties’

private interests weighing against dismissal; and second, by disregarding the

significant public interests in adjudicating this dispute here in the United States.

As explained below, each error independently justifies reversal. 9




9
  As set forth above, “an error of law is an abuse of discretion per se.” Baldwin v.
Express Oil Change, LLC, 87 F.4th 1292, 1301 (11th Cir. 2023)

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             1.     The Court Abused its Discretion in Holding that Atlantic
                    Marine Forbids Consideration of the Plaintiffs’ Private
                    Interests in Litigating this Case in the United States.
      The district court recognized that the second factor of the forum non

conveniens test ordinarily “requires the district court to weigh both the private

interests of the participants in the litigation (including “the relative ease of access

to sources of proof”) and various public factors (including “the local interest in

having localized controversies decided at home”). Doc 95 at 12 (emphasis added)

(citing Fresh Results, LLC v. ASF Holland, B.V., 921 F.3d 1043, 1049 (9th Cir.

2019) (cleaned up; citation omitted)).

      The district court held, however, that under the Supreme Court’s decision in

Atlantic Marine, 571 U.S. at 64, the fact that the contracts between Plaintiffs and

Pipistrel specify Slovenia as the appropriate forum meant that the court could only

consider public factors under the second part of the forum non conveniens test. See

id. at 14 (holding, based on Atlantic Marine, that “where the ‘parties agree to a

forum-selection clause, they waive the right to challenge the preselected forum as

inconvenient’ and the plaintiff’s choice of forum ‘merits no weight.’”).

      In so holding, the district court failed to recognize that, in Atlantic Marine,

all the parties were signatories to the contract that contained a forum selection

clause, and thus Atlantic Marine “did not have occasion to address how [its ruling]

should apply where non-contracting parties are present[.]” In re: Howmedica



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Osteonics Corp, 867 F.3d 390, 401 (3d Cir. 2017). Rather, Atlantic Marine simply

concluded that where “the parties agreed to a forum selection clause, they waive

the right to challenge the preselected forum as inconvenient or less convenient for

themselves or their witnesses, or for the pursuit of the litigation.” 571 U.S. at 64

(emphasis added).

      This holding was grounded in the Supreme Court’s view that “when parties

have contracted in advance to litigate disputes in a particular forum, courts should

not unnecessarily disrupt the parties’ settled expectations.” Id. at 66 (emphasis

added). The Court added that “[a] forum-selection clause, after all, may have

figured centrally in the parties’ negotiations and may have affected how they set

monetary and other contractual terms; it may, in fact, have been a critical factor in

their agreement to do business together in the first place.” Id. (emphasis added).

The Court concluded that, “[i]n all but the most unusual cases, therefore, ‘the

interest of justice’ is served by holding parties to their bargain.” Id. (emphasis

added). Atlantic Marine further emphasized that, in a case involving contractual

signatories, “[w]hatever ‘inconvenience’ [the parties] would suffer by being forced

to litigate in the contractual forum as [they] agreed to do was clearly foreseeable at

the time of contracting.” Id. at 64 (citing The Bremen v. Zapata Off–Shore Co., 407

U.S. 1, 17–18 (1972)).




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      None of this reasoning applies to this case. Unlike the litigants in Atlantic

Marine, Textron is not a signatory to either of the contracts that contain the forum

selection clauses. Although Right Rudder and Declan were parties to those

contracts, they solely agreed to a Slovenian forum for disputes involving Pipistrel,

a Slovenian corporation. Plaintiffs never agreed to submit themselves to Slovenian

jurisdiction in the unlikely event that a dispute were to arise between them and a

U.S. company like Textron. 10 Indeed, even if Plaintiffs could have foreseen such a

thing, it would not have made any sense for them to agree to a Slovenian forum for

such a dispute, given the inherent difficulty of litigating a tort claim against a U.S.

company on foreign soil, where all material witnesses—including the principals of

each company—are in the U.S, where most of the relevant misconduct occurred in

the U.S., and where almost all the relevant documents are in English and would

have to be translated into Slovenian.

      Thus, unlike the parties in Atlantic Marine, 571 U.S. at 66, Plaintiffs had no

“settled expectations” that they would be forced to litigate claims against a U.S.

company alleging U.S.-based misconduct in remote Slovenia. Unlike the parties in

Atlantic Marine, the inconvenience the Plaintiffs would suffer by being forced to



      10
          The Declan-Pipistrel Contract’s forum selection clause is specifically
limited to “the contracting parties,” Doc 76-2 at ¶ 9.1, and the Right Rudder-
Pipistrel Contract simply provides that “[i]n case of dispute the courts of Nova
Gorica, Slovenia shall have jurisdiction.” Doc 76-4 at ¶ 28.2.

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litigate against Textron in the contractual forum was neither something they “agreed

to do” nor was it “clearly foreseeable at the time of contracting.” Id. As a result,

Atlantic Marine’s holding that a court should not consider the signatories’ private

interests in deciding whether to dismiss a case on forum non conveniens ground

simply has no bearing on this case. See In re Rolls Royce Corp., 775 F.3d 671, 679

(5th Cir. 2014) (noting that Atlantic Marine was premised on the fact that “the

parties had agreed in advance where their private litigation interests lie, and the

reviewing court had no cause to disturb those expectations” and holding that where a

party “did not make any such advance agreements … their private interests must still

be considered by the district court.”); see also In re: Howmedica Osteonics Corp,

867 F.3d 390, 402-03 (3d Cir. 2017) (“[w]hile the Court in Atlantic Marine modified

the § 1404(a) transfer inquiry for contracting parties who affirmatively agreed to

litigate in a particular forum as an express term of their agreements, … it did not

disturb in any way the customary § 1404(a) analysis that applies where parties are

not bound by a forum-selection clause”) (citations omitted).

      The district court’s contrary conclusion rendered its forum non conveniens

analysis entirely invalid. In the usual case, the “private interest” analysis is central

to the forum non conveniens determination. See Ford v. Brown, 319 F.3d 1302,

1308 (11th Cir. 2003). But under Atlantic Marine, a district court must deem the

private interests to “weigh entirely in favor of the preselected forum,” which means



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that district courts must enforce valid forum-selection clauses “[i]n all but the most

unusual cases.” 571 U.S. at 583.

      The district court here applied Atlantic Marine with full force, refusing to

consider the Plaintiffs’ private interests in litigating in the United States. That was

reversible error, because those interests—which include relative ease of access to

sources of proof, access to unwilling and willing witnesses, ability to compel

testimony, the enforceability of a judgment, and “all other practical problems that

make trial of a case easy, expeditious, and inexpensive,” Fresh Results, 921 F.3d at

1049 (citations omitted)—all overwhelmingly (and quite obviously) militate

against a Slovenian forum. As this Court has said, “[t]he ‘central purpose’ of

forum non conveniens is ‘to ensure that the trial is convenient.’” Id. at 1048

(citation omitted). In a case like this one, where four U.S. companies are in a

dispute, where the majority of the case’s witnesses reside in the U.S., where only

U.S. tortious interference law is applicable, where the vast majority of the case

events occurred in the United States, and where virtually every document would

have to be translated from English to Slovenian, a Slovenian forum undoubtedly

would be more “convenient” for all of the parties, including Textron. 11


      11
        In a footnote, the district court brushed off Plaintiffs’ assertion that a
Slovenian forum would require translation of myriad documents by noting that the
underlying contracts had already been translated into English. Doc 95 at 15 n.5.
This ignores that the underlying contracts are only a small fraction of the
documentary evidence relevant to this dispute.

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      The district court’s refusal to even consider that fact is reason enough to

reverse the decision below. See Ford v. Brown, 319 F.3d 1302, 1308 (11th Cir.

2003) (noting that “[p]erhaps the most important ‘private interest’ of the litigants is

access to evidence.”); King v. Cessna Aircraft Co., 562 F.3d 1374, 1384 (11th

2009) (same); Ford v. Brown, 319 F.3d 1302, 1311 (11th Cir. 2003) (noting that

“[t]he fact that prominent witnesses are located in England only underscores the

point that Florida is an inappropriate forum.”); see also Fresh Results, 921 F.3d at

1048 (vacating forum non conveniens ruling based on finding that district court

“abused its discretion when it failed to consider the relevant public factors and

committed two errors in its analysis of the private factors” and requiring the court

to reweigh the factors on remand).

             2.     The District Court Also Abused its Discretion When
                    Evaluating the Public Factors Weighing Against Dismissal.

      The district court also abused its discretion by discounting the substantial

public interest factors weighing against a Slovenian forum for this dispute. As this

Court has explained, “[p]ublic interest factors include each forum’s interest in

hearing the case, the administrative burdens placed on the Court in hearing the

case, and the need to apply foreign law.” King, 562 F.3d at 1384; see also Fresh

Results, 921 F.3d at 1049 (listing factors).

      On this point, the district court mistakenly concluded that Slovenia’s interest

in resolving this dispute is stronger than that of the United States. The court first


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observed that, because “Pipistrel is a Slovenian company, the Slovenian forum has

a strong interest in resolving this dispute[.]” Doc 95 at 15, n.5. In so ruling, the

court failed to acknowledge that Pipistrel is not a party to this suit and that

Plaintiffs’ claims are for tortious misconduct against an American company based

conduct that occurred here in the U.S.

      The district court compounded this error by wrongly assuming that

Slovenian law would govern resolution of Plaintiffs’ claims. The court specifically

stated that “the interests of Slovenian courts in resolving disputes over ‘Slovenian

contracts with Slovenian counterparties, expressly governed by Slovenian law’ are

entitled to the greater weight.” Doc 95 at 16 (citations omitted)). Here again, the

Court ignored that this is a tortious interference case against Textron, not a breach-

of-contract case against Pipistrel. The district court cited no authority to support

its assumption that, under Slovenian law, the choice of law provision in contracts

between Plaintiffs and non-party Pipistrel should apply to a U.S.-based tort claim

between Plaintiffs and Textron predicated on damage that Plaintiffs suffered in

America. That is not surprising, because no such authority exists.

      To the contrary, as Plaintiffs’ expert Prof. Galič explained at length in his

declaration, a Slovenian court would not apply Slovenian law in this context. See

Doc. 91-1 at ¶¶ 55-67. There, Prof. Galič agreed with the opinion of Textron’s

Slovenian expert, Prof. Damjan Možina (Doc 80-7 at ¶¶ 11-12), that a claim for



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tortious interference would, under Slovenian law, be characterized as “an act

against fair competition.” Doc 91-1 at ¶¶ 54-55. He then opined that, under

governing Rome Regulation II, the parties’ choice of law “would need to be

disregarded.” Id. at ¶¶ 59-60. Instead, the governing law would be the “law of the

country where the market is or likely to be affected…” Id. at ¶ 62.

       Prof. Galič concluded that, “[b]ecause the RRA Distribution contract was

restricted to the USA market,” and because Declan’s contract, “while stipulating

for worldwide coverage[,] has never resulted in any significant Declan’s business

on Slovenian market, … Slovenian law would not apply.” Doc 91-1 at ¶ 62

(emphasis added). Instead, a “Slovenian court would need to apply law of the

countries where the market was affected”—i.e., the United States. Id.; see also id.

at ¶ 65 (“The law of the place where the direct damage occurred…is the governing

law of tort, pursuant to this general rule”); id. at ¶ 66 (“It is clear that direct

damage for Declan and RRA did not occur in Slovenia, so Slovenian law cannot be

the governing law of the tort under Art. 4 Rome II Regulation.”) (emphasis

added). 12




       12
         Prof. Možina’s declaration is not to the contrary. In his declaration, he
concludes that “the parties” to the Pipistrel contracts intended for Slovenian law to
apply to any contractual dispute between them. Doc 80-7 at ¶ 14. He does not
express any opinion on whether Slovenian law would govern a tort dispute with a
non-signatory like Textron.

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      Remarkably, the district court did not even acknowledge Dr. Galič’s

declaration when it concluded that a Slovenian court would apply Slovenian law to

decide Plaintiffs’ tortious interference claim. Rather, the court simply assumed

that Plaintiffs’ tortious interference claim would be governed by Slovenian law—

and, based on this assumption, briskly concluded that “the public interest factor

weighs in favor of dismissal.” Doc 95 at 16.

      This conclusion cannot stand. Even if the court had not abused its discretion

by refusing to consider the myriad private factors counselling against a Slovenian

forum (it clearly did), the court clearly erred (and thus abused its discretion, see

n.9, supra) when evaluating the respective “public” interests of Slovenia and the

United States in adjudicating their dispute. That, too, is reason enough to reverse

the decision below.

      C.     The District Court Erred in Dismissing Count III Because
             Plaintiffs Argued that Textron Interfered with Right Rudder’s
             Relationship with Mesa and Supported that Argument with
             Specific Citations to the Record.

      The district court also erred when it dismissed Right Rudder’s claim that

Textron tortiously interfered with the Right Rudder-Mesa Contract on a single,

narrow ground: that Plaintiffs failed to respond to Textron’s argument that “it was

Mesa who approached Textron about restructuring the underlying contract[,]” and

therefore Mesa “could not have been induced to breach” by Textron. Doc 95 at 21-

22. This conclusion was wrong as both a matter of fact and law.

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      As a factual matter, Plaintiffs most certainly did not concede this argument.

See Doc 91 at 22, 24-25, 28, 33-34. To the contrary, and as shown by these

citations, Plaintiffs’ Opposition to Textron’s motion to dismiss outlines each

element of a tortious interference claim and expressly argues, with multiple

citations to the Second Amended Complaint, that Textron “completely cut [Right

Rudder] out of the Mesa transaction” (id. ¶ 125) so it could “steal [Right Rudder’s]

sales to Mesa” (id. ¶ 14), thereby causing the ultimate breach of the Right Rudder-

Mesa Contract (id. ¶¶ 114, 126, and 160). In light of these arguments and

supporting citations to the record, the district court’s conclusion that Plaintiffs

“conceded” this point is difficult to understand.

      The district court’s decision to dismiss Count III also cannot be reconciled

with its duty, when considering a Rule 12(b)(6) motion, to “accept the complaint’s

allegations as true and construe them in the light most favorable to the plaintiff.”

Newbauer, 26 F.4th at 934 (cleaned up). The allegations cited in Plaintiffs’

Opposition—again, all cited in the briefing below—vividly demonstrate the extent

of Textron’s interference with the Right Rudder-Mesa Contract, and thus are worth

recounting here in some detail.

      As set forth in the Second Amended Complaint, shortly after the Pipistrel-

Right Rudder Contract was signed in September 2021, Right Rudder immediately

went to work on Pipistrel’s behalf, approaching U.S.-based Mesa about purchasing



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a fleet of Pipistrel-manufactured training airplanes, and soon began working to iron

out the pricing terms. Doc 76 at ¶¶ 104-106. In July 2022, Right Rudder and

Pipistrel agreed on the pricing, lining everything up for the consummation of Right

Rudder’s sale of Pipistrel aircraft to Mesa, believed to be Pipistrel’s second largest

fleet sale ever. Doc 76 at ¶¶ 106-108. However, this agreement soon began to hit

roadblocks engineered by Textron, which had recently taken over control of

Pipistrel.

       First, Textron’s proxy at Pipistrel—a former Textron employee named

Gabriel Massey, whom Textron installed as Pipistrel’s CEO—arranged an August

2022 meeting with Right Rudder’s representative and, without explanation, a

Textron eAviation employee named Robert Scholl, regarding pricing. Id. at ¶ 109.

Massey later emailed Right Rudder’s COO and backtracked on the pricing that

Pipistrel had previously agreed to, leading to an email from Right Rudder

explaining that Pipistrel had already agreed to the pricing, and that Mesa was

already seeking board approval to buy the airplanes under the negotiated pricing.

Id.

       On August 18, 2022, Mesa executed the Right Rudder-Mesa Contract,

agreeing to purchase 25 airplanes, at the pricing previously approved by Pipistrel,

with an option to purchase another 75 airplanes. Nonetheless, Pipistrel,

orchestrated and controlled by Textron (id. at ¶¶ 110-11), continued to insist on a



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higher pricing structure, and proposed another meeting with Textron eAviation’s

Mr. Scholl—odd, because Textron eAviation was not a party to any agreement at

issue. Id. at ¶ 109. And Mr. Massey, the Pipistrel CEO and former Textron

executive, had told Right Rudder he did not think he could get the Mesa

Agreement “approved”—also odd, because Mr. Massey was Pipistrel’s CEO, with

ultimate authority to sign off on any Pipistrel agreement. Id. at ¶ 112.

       These facts—Textron’s installation of its longtime executive Mr. Massey as

CEO of Pipistrel; his reneging on the pricing agreement worked out with Right

Rudder; Mr. Massey’s inclusion of Textron eAviation executive Rob Scholl in pricing

discussions with Right Rudder; Mr. Massey’s claimed lack of authority to approve the

Mesa Agreement—all support Right Rudder’s allegations that Textron was “driving

these discussions [and] calling the shots” so Textron could eliminate Right Rudder

from the market, steal its business, and call its own shots on pricing. Id..

       So it is no wonder that Textron eAviation’s Mr. Scholl soon began directly

renegotiating the terms of the Mesa Agreement with Mesa, despite the fact Textron

eAviation was a stranger to that Agreement. Id. at ¶ 114. Ultimately, as a result of

Textron and Textron eAviation’s actions, Mr. Scholl himself told Right Rudder

that Pipistrel would not honor its previously approved pricing structure for the

Mesa Agreement. Id. It was this refusal that led to the breach of the Right Rudder-

Mesa Contract. Id.



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      The Second Amended Complaint makes clear that Textron’s fingerprints

were all over this breach. In fact, when Right Rudder wrote Pipistrel to outline the

breach, it was Textron eAviation’s general counsel who responded to justify the

company’s actions. Id. at ¶ 122. Finally, in March 2023, Textron’s plan to push

Right Rudder aside and steal its business was complete. Mesa cancelled the Right

Rudder-Mesa agreement because Right Rudder delivered no aircraft to Mesa.

      Why didn’t Right Rudder deliver the aircraft to Mesa? Because even though

Pipistrel had accepted the sale deposits and was obligated to deliver the planes to

Right Rudder, it refused to deliver the planes due to Textron’s interference. Id. at

¶ 125.This is why Mesa approached Textron, a fact the district court found

dispositive. Doc 95 at 21-22. The SAC makes clear, however, that Mesa

approached Textron because it needed planes and that Right Rudder could not

deliver the planes due to Textron’s interference. Doc 76 at ¶ 125.

      *****

      These allegations were pled in the Second Amended Complaint, and all were

specifically referenced in Plaintiffs’ Opposition to the Motion to Dismiss. Doc 91

at 24-26. This makes the district court’s statement that “nowhere in Plaintiffs’

thirty-five page Response does RRA rebut Defendants [sic] arguments that Count

III fails to state a claim” (Doc 95 at 21-22) perplexing and, in any event, manifestly

incorrect. There was simply no basis, especially when construing the facts most



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favorably to Plaintiffs, to conclude that Mesa was going to terminate the Right

Rudder-Mesa contract regardless of Textron’s aggressive actions to push Right

Rudder aside and directly negotiate the fleet sale to Mesa.

      Textron also did not give the district court any legal basis for concluding that

these facts do not state a claim for tortious interference with the Right Rudder-

Mesa Contract. In the briefing below, Textron cited a single case—Farah v.

Canada, 740 So.2d 560, 562 (Fla. Dist. Ct. App. 1999)—to support its assertion

that it cannot be liable for tortious interference with the Mesa contract because

Mesa was going to breach anyway. Doc 79 at 40. But Farah is easily

distinguishable. There, a buyer purchased a home from a seller who told him her

listing agreement with a real estate agency had lapsed. See 740 So.2d at 561. The

agency sued both the seller for breach of the listing agreement, and the buyer for

intentional interference with that contract. Id. After judgment was entered against

the buyer for tortious interference, the appeals court reversed, finding that there

was “no evidence” that the buyer induced the seller to breach her listing

agreement, as the evidence showed that the seller had intended to breach anyway,

and in fact “told the buyer that there was no broker.” Id. at 562.

      So the buyer in Farah did nothing to induce the breach—quite unlike here,

where Textron itself is alleged, in great detail as recounted above, to have

orchestrated Mesa’s breach through Textron’s relentless, and ultimately successful,

campaign to cast Right Rudder aside and assume its business.

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      If anything, the fact that Mesa approached Textron to negotiate a new deal

and breach the Right Rudder-Mesa Contract establishes that Textron’s intentional

and deliberate campaign to push Right Rudder aside and interfere with that

Contract succeeded. The district court was wrong to treat Mesa’s negotiation with

Textron as dispositive, particularly in the face of well-pled allegations cited in the

briefing describing Textron’s machinations to inject itself into Right Rudder’s role

and steal its business with Mesa. The dismissal of Count III disregarded settled

principles requiring that well-pled facts be construed in the light most favorable to

the Plaintiffs, and must be reversed. 13




      13
         Although the district court characterized the Second Amended Complaint
as a “prohibited ‘shotgun pleading,’” it did not dismiss on that basis, and in any
event, Plaintiffs disagree with that characterization. The Second Amended
Complaint does not incorporate and adopt the allegations of all preceding counts,
cf. Weiland v. Palm Beach Cnty. Sherriff’s Off., 792 F.3d 1313, 1321 (11th Cir.
2015), but instead lists in Count III only those 22 paragraphs directly related to
Textron’s tortious interference with the Right Rudder-Mesa Contract. Doc 76 at
¶ 157. Nor does the SAC include the “relatively rare sin of asserting multiple
claims against multiple defendants without specifying which of the defendants are
responsible for which acts or omissions, or which of the defendants the claim is
brought against.” 792 F.3d at 1322-33. Count III is pled solely against Textron and
its agent, Textron eAviation — the companies that pushed Right Rudder out of the
way and stole its sales to Mesa. The district court also stated that, despite its
admonishment, Plaintiffs continue to refer to a tranche of contracts that have no
connection to the three counts in the Second Amended Complaint. Doc 95 at 23,
n.11. The court is just wrong. These contracts are listed because they provide
further evidence that the Defendants interfered with the Right Rudder-Pipistrel
Contract and thus are directly related to the claims stated. Doc 76 at ¶ 126 n.7.

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                                  CONCLUSION

      For the foregoing reasons, the district court’s decision dismissing Counts I

and II on forum non conveniens grounds and dismissing Count III for failure to state

a claim should be reversed.


                                 Respectfully submitted this 6th day of May, 2024.

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                    CERTIFICATE OF COMPLIANCE

1.   This brief complies with the type-volume limitation of Fed. R. App. P.
     32(a)(7)(B)(i) because:

           this brief contains 10,423 words, excluding those parts of the brief
           exempted by Fed. R. App. P. 32(f).

2.   This brief complies with the typeface requirements of Fed. R. App. P.
     32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because:

           this brief has been prepared in a proportionally spaced typeface using
           Microsoft Office Word in Times New Roman, 14-point.

                              Respectfully submitted this 6th day of May, 2024.

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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on May 6, 2024, the foregoing Appellants’ Brief

was electronically filed with the Clerk of Court using the Court’s CM/ECF system

which sent notification to all attorneys of record.

      I certify that all participants in the case are registered CM/ECF users and

that service will be accomplished using the appellate CM/ECF system.

                                 Respectfully submitted this 6th day of May, 2024.

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                         ADDENDUM
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                                      THE REPUBLIC OF SLO VEN IA
                                      LJUB LJAN A HIGH ER COU RT



                                                                           Decision VSL II Cp 1950/ 2015
         Court: Ljubljana Higher Court
         Department: The Civil Department
         ECLI: ECLl :Sl :VSLJ :2015:11.CP.1950.2015
        Evidentiary number: VSL0082677
         Date of the decision: 2 September 2015
        Panel, sole judge: Polona Marjetic Zemljic (pres
                                                               ident), Matej Cujovic, LLM (rapporteur),
        Katarina Marolt Kuret
        Field: CIVIL PROCEDURAL LAW - PRIV ATE
                                                              INTERNATIONAL LAW - LAW OF THE
        EUROPEAN UNION - LAW OF OBL IGAT IONS
                                                            - CONTRACTUAL LAW
        Institute: jurisdiction of the Slovenian court - deter
                                                               mination of jurisdiction among court of the
        EU Member States - circumstance of the case -
                                                            guarantee - guarantee statement - content
       of statement - prorogation of jurisdiction -
                                                           agreement on jurisd iction - assumption of
       obligations from the main contract - payment obliga
                                                               tion - prorogation clause - agreement on
       jurisdiction


                                                 Main part
       With the guarantee contract, the respondents;
                                                              as guarantors, did not assume all the
       obligations and conditions from the main contract,
                                                              but only the payment obligations, so they
       cannot claim that the prorogation clause from
                                                         the main contraCt also applies to them . The
       Slovenian court therefore has jurisdiction for the
                                                          trial.

                                            Operative part
          I.      The appeal is dismissed and the decision of the
                                                                      court of first instance is confirmed.
          II.     Each party shall bear its own costs of the appeal
                                                                       procedure.

                                         Explanatory note
          1. The first-instance court dismissed the objec
                                                         tion of lack of subject-ma tter j urisdiction
             submitted by the two respondents.

         2. With the timely appeal, the respondents state
                                                              as essential that they asserted that their
            guarantee statement should be evaluated in conn

I
                                                                   ection with the main leasing contract,
            which they also signed as statutory representa
                                                                 tives of the lessee. The court should
            assess what the respondents knew or had in mind
                                                                        when they signed the guarantee
            obligation, especially since it is written that they
                                                                     were aware of all the terms of the
            contract. They do not agree with the position of
                                                                 the court of first instance that there is
            no accessory, as the court ignored that the two
                                                                 signatories were the same and knew
            about the prorogation agreement from the main
                                                                   contract. The court shall accept the
            position that there are two separate contracts witho
                                                                      ut at least heari ng the responden ts
            about it first. Further on, it summarizes the legal
                                                                opinio n of the Institute for Comparative
            Law and challenges the court's reference to case
                                                                    II lps 167/98. The court did not rule
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           on the objection of the respondents with
                                                      regard to the legal nature of their state                        9.
           and the related question of whether or                                               ment
                                                  not it is a surety at all. They propose annu
           of the contested decision and the rejec                                             lment
                                                   tion of the action.
                                                                                                                       1(
       3. The claimant responded to the appe
                                              al served upon him in a timely manner,
          the appeal allegations, agrees with                                           opposes
                                                the reasons of the court of first insta
          proposes the dismissal of the appeal.                                         nce and

      4. The appeal is unfounded.

      5. In the present case, it is the duty
                                             of the court to decide whether the litiga
         concluded an agreement on jurisdicti                                           nts have
                                               on, since the latter, based on Article
         Council Regulation (EC) no. 44/2001 on                                        23 of the
                                                   Jurisdiction and recognition and enforcem
         of judgements in civil and commercial                                               ent
                                                 matters (Brussels I Regulation), prevails
         other circumstances for determining                                                over
                                               jurisdiction between courts of the EU
         States. The respondents assert that eithe                                      Member
                                                    r a Croatian or an Austrian court, but
         Slovenian court, has jurisdiction.                                                not a

     6. The     appellants   do    not     even     assert    that    they   entered      into                          1
        special/separate/independent agreeme                                                       a
                                                 nt with the claimant that would cont
        prorogation clause. However, they claim
                                                  ed, and they insist on this in the appe
                                                                                             ain a                (t
        they signed both the main (in their capa                                            al, that
                                                 city as statutory representatives of the
        and the guarantee agreement (as natu                                               lessee)
                                                ral persons), and since the main cont
        which they were aware contains such                                              ract with
                                                an agreement, it also extends on them
        guarantors. Such argumentation is not                                                as on
                                                correct.
     7. The appe llants unfoundedly refer to
                                                  the opinion of the Institute for Compara
          the Faculty of Laws in Ljubljana , as they                                           tive Law of
                                                            misunderstand it. The author of the opin
          dr. Jerca Kramberger Skerlj writes in                                                            ion,
                                                          the concluding part of the opinion that
          prorogation clause contained in the                                                             "the
                                                          main contract binds the guarantor
          unequivocally established that he knew                                                      if it is
                                                        (or should have known) of the existenc
          clause and undertook to fu lfil all obligation                                            e of this
                                                             s of the party for whom he guarantees,
          he did not exclude the prorogation clau                                                          but
                                                       se" (attachment 84). It is not disputed
         the litigants that the respondents knew                                                  between
                                                         about the existence of this clause in the
         contract, but according to the assessm                                                         main
                                                     ent of the court of appeals , the second
         is not met in order to be able to conclude                                              cond    ition
                                                            that the prorogation clause also extends
         the guarantor relationship. Indeed, it                                                              to
                                                    does not follow from the guarantee state
         (attachments A3 and A6) that the resp                                                        ments
                                                        ondents undertook to fulfil all obligation
        only to fulfil all payment obligations.                                                        s, but
                                                      In other words: by signing the contract,
        undertook to fulfil the substantive lega                                                         they
                                                       l obligations of the principal debtor, whil
        guarantor contract is silent on the com                                                        e the
                                                         mitment on procedural rules from the
        contract. Since the appellants limited their                                                    main
                                                           obligation to the main debtor to the fulfil
        of payment obligations with the guar                                                           men    t
                                                       antee contracts , they thereby excluded
        application of the prorogation clause                                                             the
                                                   from the main contract and cannot succ
        refer to it. They undoubtedly knew abou                                                   essfully
                                                     t the existence of the clause, but did not
       themselves to it. In this part, accessor                                                    commit
                                                      y is not specified , but the fact that it
       terms of payment obligations was not                                                      exists in
                                                   even disputed between the parties. The
       of the respondents is inappropriate evid                                                   hearing
                                                         ence, since in the absence of a cont
       agreement on the prorogat ion clause,                                                       ractual
                                                     the court has nothing to question them
       while it is not disputed that they knew                                                      about,
                                                   about this clause and were familiar with
                                                                                                  it.
   8. No agreement on jurisdiction was
                                                 concluded between the litigants, ther
       claimant filed the action correctly befo                                                efore the
                                                        re the Slovenian court, namely befo
       subject-matter and territorially compete                                                    re the
                                                    nt Ljubljana District Court.
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            9. Based on the above, the appellate court <1> upheld the appeal and, in accordan
                                                                                              ce with
               point two of Article 365 of the ZPP, confirmed the appealed decision .

            10. The decision on the costs of the appeal procedure is based on the provision
                                                                                                        of
                paragraph one of Article 165 of the ZPP. The respondents were unsuccessful in
                                                                                                    their
                appeal , while the response to the appeal filed by the claimant did not contribute to
                                                                                                      the
                decision of the appellate court, thus it was not a necessary expense (paragra ph
                                                                                                      one
                of Article 155 of the ZPP).




        Ref. no. (1 ): The decision was adopted by the appeal panel on the basis of the third
                                                                                              indent of
        paragraph two of Article 366 of the ZPP.

        Reference:

        The Council Regulation (EC) no. 44/2001 of 22 December 2000 on jurisdiction and
                                                                                           recognition
        and enforcement of judgements in civil and commercial matters (Brussels I) Article
        18 and 29 of the ZPP. ·    >\                                                      23. Articles

                                     '
        Associa ted docume nts: * .\
               I                      ~i

        *Cases ·in ·which the court ~dopted the substantively identical position on procedur
                                                                                             al or
        substantiv.e legal issues. /


        Date of last amendm ent: 29 September 2015




tr
 I
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   Spodaj podpisani Luka Milanovic, sta1ni sodni tolmac za angleski jezik, imenovan z odlocbo
   Minstrstva za pravosodje Republike Slovenije v Ljubljani, st. 705-156/ 2021 z dne14. 4. 2023,
   izjavljam, da se ta prevod popolnoma ujema z izvirnikom.

   I, the undersigned Luka Milanovic, Permanent Court Interpreter for the English language,
   appointed by the Decree of the Ministry of Justice of the Republic of Slovenia in Ljubljana, no.
   705-156/2021 on i4•h of April 2023, hereby declare that the attached translation is correct and
   accurate to the best of my lmowledge and belief and corresponds entirely to the original.




   2 November 2023
     USCA11 Case: 24-10913
    17. 10. 23. 06:57                                Document: 29                Date Filed: 05/06/2024
                                                                                 lskalnik sodne prakse
                                                                                                                             Page: 60 of 61



                                                                 AEP UBL IKA
                                                                 SLO VEN IJA
                                                                 V      f    S            E
                                                                 SODISCE

                                                                       LJUBLJ ANA



        Sodisce:             Visje sodisce v Ljublja ni
        Oddelel<:            Civilni odde fek
         ECLI :              ECL!:S l:VSLJ :20 I 5:11.C P.1950.2015
        Evidcn cna
        slcvilk a :     VSL00 82677
        Datum od locbc: 02.09.2 0 15
        Senat, sodnik
        posam eznik:    Polona Marjet ic Zem ljic (preds.), mag. Matej C ujovic
                                                                                (poroc.), Katarin a Maro lt K uret
        Poclroi'jc:         CfV ILNO PROCESNO PR AVO- MEDNARODNO ZASEB
                                                                      NO PRAVO - PRAVO EVROPSKE UNIJE
                            - OBLIGACIJSKO PRAVO - POGODBENO PRAVO
                            pristojnost s fovensk ega sodi sca - dolocitev pristojnosti
        lnstitu t:                                                                      med sodisci drfav clanic EU - okof isCine primera
                            - porostvo - porostv ena izjava - vsebina izjave - prevze
                                                                                        m o bveznosti iz g lavne pogodb e - placilna
                            obveznost - prorog acijska klavzul a - dogovo r o pristoj
                                                                                       nosti


                                                                        Jedro
       Tozenca kot poroka s porostv enima pogodb ama nista prevze
                                                                        la vseh obveznosti in pogojev iz glavne pogodb e, temvec
       placilne obvezn osti , zato se ne moreta sklicev ati, da se                                                                   le
                                                                   prorog acijska klavzu la iz temeljne pogodb e nana5a tudi
       sojenje je zato pristojno slovensko sodisce .                                                                         na njiju. Za


                                                                        Izrek
       I. PritoZba se zavrne in se sklep sod isca prve stopnje potrdi.

       II . Vsaka stranka krije svoje slroske pritozb enega postop
                                                                      ka.

                                                                 Obra zlozi tev
       I. Sodisce prve stopnje je zavrn ilo ugovor stvarne ncprist
                                                                      ojnosti, ki sta ga pe dal a tofonca .
       '.!. Toi.enca v pravocasni pritozbi kot bistven o navajata,
                                                                    da sta zatrjevala, dajc treba njuno poroscveno izjavo presoja
       povczavi s temeljno Iizing pogodb o, ki sta jo kot zakon                                                                      ti v
                                                                   ila zastopn ika lizingo jemalc a prav tako podpisala. Sodisc
       presojati, kaj sta tozenca vedcla ali imela v mislih, ko sta                                                              e bi moralo
                                                                      podp isovala porostv eno obvezn ost, zlasti ker je zapisan
      jima znani vsi pogoji iz pogodb e. Ne strinjat a se s stalisce                                                             o, da so
                                                                      m sodisca prve stopnje , da ni nobene akceso rnosti. saj
      prezrfo. da sta bi la podpis nika ista in sta vedela za prorog                                                            je sodisce
                                                                      acijski sporaz um iz g lavne pogodb e. Sodisc e se ne more
      na staliscc , da gre za dve loceni pogodb i, ne da bi tozenc                                                                 postaviti
                                                                     a o tem prej vsaj zaslisa lo. V nadalje vanju povzema pravno
      ln;tilut a w primerjalno pravo in izpodb ija sklicevanje                                                                        mnenje
                                                                 sodisea na zadevo II lps 167/98. Sodisc e se ni oprede lilo
      toi.enccv g lede pravne narave njune izjave in s tern poveza                                                              do ugovora
                                                                       ncga vprasanja. al i gre sploh za porostv o ali ne. Predlag
      razveljavitev izpodb ijanega s klepa in zavrze nje toi.be.                                                                   ata

     J. Tozeca strank aje na vrocen o pritoi.bo pravoc asno odgovo
                                                                   rila, nasprotuj e pritozbenim navedb am, soglasa z razlogi
     sodisca prve stopnje in predlag a zavrnitev pri tozbe.

     4. Pritozba ni utemeljena.

     5. V obravnavani zadevi je dolfoo st sodisca , da presodi
                                                                    , ali sta pravdni stranki sklenili clogovo r o pristojn osti.
     podlag i 23. clena Uredbe Sveta (ES) st. 44/200 I o pristojn                                                                 kajti ta ima na
                                                                        osti in priznav anju ter izvrsev anju sodnih odlocb v civilnih
     gospodarskih zadeva h (Uredb a Bruselj I) predno st pred                                                                              in
                                                                     drug imi okoliSc inami za dolocitev pristojnosti med sodisci
     clanic EU. Tozenc a trdita. daje za sojenje pristojno bodisi                                                                       dri.av
                                                                        hrvasko bod isi avstrijsko, nikako r pa sloven sko sodisce
                                                                                                                                      .
     6. Pritofo ika niti ne trdita, da bi s tozeeo stranko sklenil
                                                                    a posebe n/locen/samostojen dogovor, ki bi vsebov al prorog
     klavzulo. Trdil a pasta, in pri tern vztraja ta v pritoZbi , da                                                                    acijsko
                                                                      sta podpis ala tak6 g lavno (v svojstv u zakoni tih zastopn
                                                                                                                                   ikov
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   17. 10. 23, 06:57 24-10913               Document: 29                  Datelskalnik
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                                                                                       sodne prakse
                                                                                                                   Page: 61 of 61
          lizi ngojcm alca) kot porostv eno pogodb o (kot fizi cn i osebi),
                                                                            inker glavna pogodb a, s katero sta bila seznanjena. vsebuj
          dogovor, se ta razteza tudi nanju kot na poroka. Tako stalisce                                                                e tak
                                                                             ni pravi lno.
          7. Pritofo ika se neutemelj eno sklicujeta na mnenje ln~ticut
                                                                          a za prime1jalno pravo PF v Lj ubljani , saj g
          Avtorica mnenja , dr. Jerca Kramb erger Skerlj, namrec                                                          a nepravi lno razumeta.
                                                                     v sklepn em delu mnenja zapise, da ,,prorogacijska klavzul
         vsebovana v temelj ni pogodbi , zavezu je poroka , ce je nedvou                                                               a,
                                                                              mno ugotovljeno, da je vedel (o zi roma bi moral vedeti)
         obstoj te klavzu le in se je zaveza l k izpo lnitvi vseh obvezn                                                                     za
                                                                          osti stranke, za katero j amci, pri tern pa ni izvzel prorog
         klavzule" (priloga 84). Med pravdnima stranka ma niti                                                                           acijske
                                                                      ni spomo , da sta tozenc a vedela za obstoj te klavzule v
         pogodbi, pac pa po oceni pritozbenega sodisca ni izpolnj                                                                   temeljn i
                                                                        en drug i pogoj , da bi bilo mogoce zakljuciti, da se proroga
         klavzu la rnzteza tudi na porostv eno razmerje. lz porostv                                                                       cijska
                                                                       en ih izjav (prilog i A 3 in A 6) narn rec ne izhaja. da sta
         zavezal k izpolni tvi vseh obveznosti, temvec sta se zaveza                                                                se to:Zenca
                                                                         la le k izpolnitvi vseh placi ln ih obvezn osti. Povedano drugac
         podpisom pogodb e sta se zavezala k izpo lnjevanju rnateria                                                                          e: s
                                                                          lnopravnih obveznosti g lavneg a dolinik a. g lede zaveze
         postopk ovnih/p roces nih pravi lih iz temeljne pogodbe pa                                                                      o
                                                                        porostv eni pogodb i molcita. Ker sta pritofo ica svojo obvezn
         glavnega dolfo ika s porostv enima pogodb ama omejila                                                                              ost do
                                                                     na izpo lnjevanje placiln ih obveznosti, sta stern izk ljucila
         prorogacijske klavzu le iz temeljne pogodbe in se nanjo                                                                       uporabo
                                                                      ne moreta uspesn o sklicevati. Za obstoj klavzu le sta namrec
         nesporno vedela, pa se k njej nista zaveza la. V tem delu
                                                                       akceso rnost ni podana, da pa g lede placiln ih obveznosti
         med slrankama niti ni bilo spomo . Zaslisa nj e tozenc ev                                                                    ta obstaja,
                                                                     je neprimeren dokaz, saj j u ob odsotnosti pogodb enega
         prorogacij ski klavzuli , sodisce nima o cem zaslise vati,                                                                 dogovo ra o
                                                                    da sta za to klavzulo vedela in bila z nj o seznan jena, pa,
         ni bilo sporno.                                                                                                             kot receno,

         8. Med pravdn ima strankama torej ni bil sklenjen dogovo
                                                                   r o pristojnosti, zato je toieca stranka tozbo pravilno vlozila
         slovens kim sodiscem, in sicer pred scvarno in krajevno                                                                   pred
                                                                 pristojnim Okrofo im sodisce m v Ljublja ni.
         9. Na podlag i navede nega je pritozb eno sodisce ( I ) pritozb
                                                                         i ugodilo ter v s kl adu s 2. tocko 365. clena ZPP izpodbi
         potrdilo.                                                                                                                  jani sklep

         I0. Odloci tev o pritozben ih stroskih temelji na dolocbi                                                                                     (
                                                                   prvega odstavka 165. clena ZPP. Toienc a s pritoi.bo nista
        odgovor na pritozbo, ki ga je vlozila tozeca stranka, pa                                                              us pela.
                                                                   ni pripom ogel k odlocanju pritozbenega sodisca , zato ni
        strosek. ki bi bil za potreben (p1vi odstave k 155. clena                                                            slo za
                                                                   ZPP).



        Op. st. (I ): Odlotit ev je na podlagi tretje alineje drugeg
                                                                       a odstavk a 366. clena ZPP sprejel pritozbeni senat.


        Zveza:

        Uredba Sveta (ES) st. 44/200 I z dne 22. decembra '.WOO
                                                                    o pristojn osti in priznav anju ter izvrsevanj u sodn ih odlocb
        civilnih in gospod arskih zadeva h (Bruse lj J) clen 23. ZPP                                                                v
                                                                     clen 18, 29.
        l'ridru ieni dokum enti :*

        *Zadeve, v kalerih je sodisce sprejelo vsebinsko enako
                                                                      stalisce o procesn ih oz. materia lnopravnih vprasa njih.
        l)atum zadnj e sprem embc: 29.09.20 15

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